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                                                                        6   Tyler J. Bexley [Pro Hac Vice App. Pending]
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                                                                        9
                                                                            Attorneys for CoEfficient, LLC, and
                                                                       10   TelEfficient, LLC; aka TeleSwitch Finance, LLC
                                                                            Alleged Debtors
                                                                       11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                       12
                                                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                                       13                                       OAKLAND DIVISION
                                        S A N F R A N C I S C O , CA
                                        ATTORNEYS AT LAW




                                                                       14   In re:                                                Case No.: 4:18-bk-41932
                                                                                                                                  Chapter 7
                                                                       15   COEFFICIENT, LLC,

                                                                       16                                  Alleged Debtor.

                                                                       17
                                                                            In re:                                                Case No. 4:18-bk-41933
                                                                       18                                                         Chapter 7
                                                                            TELEFFICIENT, LLC; aka TELESWITCH
                                                                       19   FINANCE, LLC                                          DECLARATION OF TYLER J. BEXLEY
                                                                                                                                  IN SUPPORT OF ALLEGED DEBTORS’
                                                                       20                                  Alleged Debtor.        REPLY TO GENBAND’S OPPOSITION
                                                                                                                                  TO MOTION TO DISMISS
                                                                       21                                                         INVOLUNTARY PETITIONS

                                                                       22
                                                                                                                                  Hearing
                                                                       23                                                         Date:   October 24, 2018
                                                                                                                                  Time:   8:00 a.m.
                                                                       24                                                         Place:  Courtroom 220
                                                                                                                                          1300 Clay Street
                                                                       25                                                                 Oakland, CA 94612

                                                                       26            Pursuant to 28 U.S.C. § 1746, I, Tyler Bexley, hereby declare as follows:

                                                                       27            1.      I am counsel to CoEfficient, LLC and TelEfficient, LLC (collectively, the “Alleged

                                                                       28   Debtors”) in the lawsuits identified herein and have personal knowledge of the facts contained in this


                                                                            DOCS_SF:98011.1 14885/001                                   DECLARATION OF TYLER J. BEXLEY IN SUPPORT OF
                                                                        Case: 18-41932         Doc# 25-1    Filed: 10/17/18    Entered: 10/17/18 17:19:28   Page
                                                                                                                                                        ALLEGED    1 of REPLY
                                                                                                                                                                DEBTORS’
                                                                                                                         3
                                                                        1   Declaration, which are true and correct, and if sworn as a witness, I could and would testify

                                                                        2   competently thereto.

                                                                        3           2.       I submit this declaration as a supplement to my prior declaration in support of the

                                                                        4   Alleged Debtors’ Motion to Dismiss Involuntary Petitions or, in the Alternative, Abstention, and

                                                                        5   Reservation of Rights; Memorandum of Points & Authorities.

                                                                        6           3.       I am lead counsel to the Alleged Debtors in (1) the state court action pending in the

                                                                        7   116th Judicial District Court of Dallas County, Texas, entitled, GENBAND Management Services,

                                                                        8   Corporation v. CoEfficient, LLC and TelEfficient, LLC, Cause No. DC-16-12593 (the “State Court

                                                                        9   Action”) and (2) the Adversary Proceeding that was initiated when Genband removed the State

                                                                       10   Court Action to the U.S. Bankruptcy Court for the Northern District of Texas, pending as Adversary

                                                                       11   Case No. 3:18-03242.
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                                                                       12           4.       Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the Deposition

                                                                       13   of Mark Pugerude, taken in the State Court Action on June 29, 2018.
                                        S A N F R A N C I S C O , CA
                                        ATTORNEYS AT LAW




                                                                       14           5.       Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the Deposition

                                                                       15   of Dennis Murray, taken in the State Court Action on June 20, 2018.

                                                                       16           6.       Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the Deposition

                                                                       17   of Daryl Raiford, taken in the State Court Action on May 15, 2018.

                                                                       18           7.       Attached hereto as Exhibit 4 is a true and correct copy of excerpts of the Deposition

                                                                       19   of Steven Bruny, taken in the State Court Action on May 17, 2018.

                                                                       20           8.       Attached hereto as Exhibit 5 is a true and correct copy of excerpts of the Deposition

                                                                       21   of Hao Lam, taken in the State Court Action on May 11, 2018.

                                                                       22           9.       Attached hereto as Exhibit 6 is a true and correct copy of a document produced in the

                                                                       23   State Court Action and marked as Exhibit 52 to the Deposition of Steven Bruny.

                                                                       24           10.      Attached hereto as Exhibit 7 is a true and correct copy of a document produced in the

                                                                       25   State Court Action and marked as Exhibit 44 to the Deposition of Steven Bruny.

                                                                       26           11.      Attached hereto as Exhibit 8 is a true and correct copy of a document produced in the

                                                                       27   State Court Action and marked as Exhibit 16 to the Deposition of Daryl Raiford.

                                                                       28


                                                                            DOCS_SF:98011.1 14885/001                                     DECLARATION OF TYLER J. BEXLEY IN SUPPORT OF
                                                                        Case: 18-41932         Doc# 25-1     Filed: 10/17/18 2Entered: 10/17/18 17:19:28   Page
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                                                                                                                                                               DEBTORS’
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